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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                 Plaintiff and Counterclaim
                 Defendant,
                                                      Case No. 1:19-CV-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                 Defendant and Counterclaim
                 Plaintiff.



     OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S MEMORANDUM IN
     SUPPORT OF ITS MOTION TO SUPPLEMENT ITS PRELIMINARY NON-
             INFRINGEMENT AND INVALIDITY CONTENTIONS

       Pursuant to Local Rule 16.6(d)(5) and the joint Modified Scheduling Order (ECF No. 101),

Defendant and Counterclaim Plaintiff Omilia Natural Language Solutions, Ltd. (“Omilia”) moves

for leave to supplement its Preliminary Non-Infringement and Invalidity Contentions

(“Preliminary Contentions”). On Friday October 16, 2020, Nuance narrowed its claims of patent

infringement to five asserted claims: claims 1, 14, and 27 of U.S. Patent 6,999,925 (the ’925 Patent)

and claims 17 and 19 of U.S. Pat. No. 8,532,993 (the ’993 patent). The case schedule provides for

Omilia to supplement its invalidity contentions on those five asserted claims by October 30, 2020.

ECF No. 101. In addition to seeking leave to supplement its invalidity contentions, Omilia seeks

leave to supplement its non-infringement contentions. A copy of Omilia’s proposed Second

Supplemental     Non-Infringement     and     Invalidity   Contentions    (“Second    Supplemental

Contentions”) are attached to this motion. Declaration of Daniel S. Sternberg (“Sternberg Decl.”),

Exhibit A.

       Local Rule 16.6(d)(5) permits a party to supplement preliminary non-infringement and

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invalidity contentions with leave of the court upon a showing of good cause. L.R. 16.6(d)(5).

Omilia has good cause to supplement its contentions. Omilia’s proposed Second Supplemental

Contentions are necessary to (1) account for and respond to Nuance’s August 24, 2020 Response

to Interrogatory No. 9, which further describes its interpretations of the asserted claims as well as

provides new details on its infringement allegations and (2) to address the claim constructions and

guidance in the Court’s August 6, 2020 Markman order. ECF No. 157. Omilia’s Second

Supplemental Contentions focus the patent infringement and invalidity issues on the five

remaining asserted claims from the Phase 1 patents. These supplemental contentions provide

detail on Omilia’s contentions, including in charts by reference and patent format as requested by

Nuance. For example, they provide additional documentary evidence as to why the accused

Omilia products are non-infringing as a result of activities outside the United States and operate in

fundamentally different ways than what is claimed in the asserted patents and asserted in Nuance’s

Response to Interrogatory No. 9.       These contentions provide additional detail on why the

previously identified prior art render the asserted claims invalid. Omilia’s supplemental invalidity

contentions are also necessary to disclose several new prior art references that were recently

discovered. See Sternberg Decl. ¶¶ 4-6. These references were not previously identified despite

a diligent search that included multiple commissioned prior art searches and diligent investigation

by counsel. Id. at ¶ 4. Instead, they were only recently identified by Omilia’s voice recognition

technology consultant in preparation for supplementing Omilia’s invalidity contentions. Id. at ¶¶

5-6. Discovery concerning the invalidity issues in this case has been limited by the fact that

Nuance acquired the Phase 1 patents and thus is unable to provide discovery concerning the

prosecution, purported inventions and products associated with the subject matter of the asserted

claims. Nuance did not develop or apply for the subject matter in either of the asserted patents but


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instead purchased them from IBM and AT&T. No depositions or discovery has been provided

from the inventors or the non-public prosecution history files. As a result, Omilia has had to and

will continue to need to conduct additional searches and third party discovery to complete its

evaluation of the invalidity issues as to these two patents.

       Allowing Omilia to amend its contentions serves the interest of fairness and judicial

economy as it will help the parties to narrow, prioritize and resolve the Phase 1 patent issues. Good

cause exists for supplementation in view of the status of the litigation and the timing of these

disclosures.   Omilia’s Motion to Supplement is consistent with the parties’ joint Modified

Scheduling Order (ECF No. 101) requiring these disclosures. This case remains at an early stage.

Fact discovery is ongoing and will not close until March 30, 2021. Expert discovery will not close

until June 29, 2021. Nuance has not completed its document production. No depositions have

occurred. These supplemental contentions will also not affect the completion of discovery nor will

it unduly prejudice Nuance.

       Omilia met and conferred with Nuance on October 30, 2020. Nuance indicated that it

reserves all rights, but at this time does not consent to Omilia’s motion for leave to supplement at

least as it relates to Omilia’s non-infringement contentions and the addition of prior art references

to Omilia’s invalidity contentions.

       For the reasons stated above, Omilia respectfully requests that the Court find that good

cause exists and grant Omilia’s motion to supplement its Preliminary Non-Infringement and

Invalidity Contentions.




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Dated: October 30, 2020              Respectfully Submitted,


                                     /s/ Daniel S. Sternberg
                                     Kevin C. Adam (SBN 684955)
                                     Daniel S. Sternberg (SBN 688842)
                                     WHITE & CASE LLP
                                     75 State Street, 24th Floor
                                     Boston, MA 02109
                                     (617) 979-9300
                                     kevin.adam@whitecase.com
                                     daniel.sternberg@whitecase.com

                                     Of Counsel:
                                     Dimitrios Drivas (admitted pro hac vice)
                                     Raj Gandesha (admitted pro hac vice)
                                     Stefan Mentzer (admitted pro hac vice)
                                     John Padro (admitted pro hac vice)
                                     WHITE & CASE LLP
                                     1221 Avenue of the Americas
                                     New York, NY 10020-1095
                                     (212) 819-8286
                                     ddrivas@whitecase.com
                                     rgandesha@whitecase.com
                                     smentzer@whitecase.com
                                     john.padro@whitecase.com

                                     Hallie Kiernan (admitted pro hac vice)
                                     WHITE & CASE LLP
                                     3000 El Camino Real
                                     Two Palo Alto Square, Suite 900
                                     Palo Alto, CA 94306
                                     (650) 213-0300
                                     hallie.kiernan@whitecase.com

                                     Counsel for Omilia Natural Language Solutions,
                                     Ltd




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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on October 30, 2020, with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5.4 (c).



                                            /s/ Daniel S. Sternberg
                                            Daniel S. Sternberg




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